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United States District Court
District of Massachusetts

AXIS INSURANCE COMPANY, a/a/o ZOLL

MEDICAL CORPORATION and ZOLL

SERVICES LLC, and a/s/o FUSION LLC,
Plaintiff, Civil Action No.

20-11997 -NMG

Vv.

BARRACUDA NETWORKS, INC., and
SONIAN INC.,

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

Pending before the Court is a motion for a protective order
filed by plaintiff Axis Insurance Company (“Axis”), as assignee
of Zoll Medical Corporation and Zoll Services, LLC (together,
“Zoll”) and as subrogee of Fusion, LLC (“Fusion”). Axis seeks
an order from this Court pursuant to Fed R. Civ. P. 26(c)
exempting an archive of electronically stored information
(“ESI”) from the scope of discovery in this case. Defendants
Barracuda Networks, Inc. (“Barracuda”) and Sonian, Inc.
(“Sonian”) have timely opposed the motion.

The Court is aware that the parties did not discover the
archive until recently and that searching it at this point will
introduce additional cost and delay. Nevertheless, the Court
concludes that the ESI at issue may be (and likely is) “relevant

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to the subject matter of the action.” Cherkaoui v. City of
Quincy, No. 14-CV-10571-LTS, 2015 WL 4504937, at *1 (D. Mass.
July 23, 2015) (citation omitted). Although Axis cites the
broad discretion which district courts have to issue protective
orders, it has not met its burden to establish that there is
good cause (e.g. lack of relevancy or undue burden) for such

relief here. See Voice Domain Techs., LLC v. Apple, Inc., No.

13-CV-40138-TSH, 2014 WL 5106413, at *2 (D. Mass. Oct. 8, 2014)
(holding that the burden is on the movant to “demonstrate a
particular need for protection”).

Furthermore, Axis (a/a/o Zoll1) should have been aware of
the existence of the archive earlier which would have allowed
the parties to mitigate the time and cost associated with
searching the archive for responsive ESI material. For
instance, in February, 2021, while this case was pending,
outside counsel for Zoll sent a litigation hold letter to
Barracuda with respect to the archive. See Docket No. 94-3.
Counsel for Axis in this case, however, failed to confirm
whether the archive existed until May 4, 2023.

ORDER

For the foregoing reasons, Axis’ motion for a protective
order (Docket No. 86) is DENIED.

The parties are instructed to meet and confer to develop a

plan for searching the archive in a manner that will minimize

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the delay and expense associated with reviewing it. They shall
submit to the Court, on or before Wednesday, September 6, 2023,
a proposed scheduling order that will promptly and efficiently
complete discovery in this case.

So ordered.

Vttimc ON GAC,

Nathaniel M. Gorton
United States District Judge

Dated: August /§, 2023
